      Case 1:16-cv-07123-WHP-GWG Document 247 Filed 11/20/17 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK




CENGAGE LEARNING, INC., MCGRAW-
HILL GLOBAL EDUCATION HOLDINGS,                      Case No. 1:16-cv-7123 (WHP)(GWG)
LLC, and PEARSON EDUCATION, INC.,

              Plaintiffs,
 v.

BOOK DOG BOOKS, LLC d/b/a
TEXTBOOKRUSH and TEXTBOOKSRUS,
APEX MEDIA, LLC, AND ROBERT WILLIAM
MANAGEMENT, LLC,

              Defendants.



                                      NOTICE OF MOTION

         Please take notice that Plaintiffs Cengage Learning, Inc., McGraw-Hill Global Education

  Holdings, LLC and Pearson Education, Inc. (“Plaintiffs”), upon the accompanying Memorandum

  of Law, will move this Court before the Honorable William H. Pauley III, United States District

  Judge at the United States Courthouse for the Southern District of New York, located at 500

  Pearl Street, New York, NY on a date to be determined by the Court, for an order in limine

  precluding Ronald G. Quintero from offering certain testimony at trial.



  Dated: November 20, 2017
Case 1:16-cv-07123-WHP-GWG Document 247 Filed 11/20/17 Page 2 of 2




                              OPPENHEIM + ZEBRAK, LLP


                              By:   /s/ Matthew J. Oppenheim
                                    Matthew J. Oppenheim
                                    Scott A. Zebrak
                                    Julie C. Chen
                                    Jeffrey Gould
                                    Corey Miller
                                    OPPENHEIM + ZEBRAK, LLP
                                    5225 Wisconsin Avenue NW, Suite 503
                                    Washington, DC 20015
                                    Tel: 202.480.2999
                                    Fax: 866.766.1678

                                    Counsel for Plaintiffs




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